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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND


 BRIAN KEITH COCKRELL

        and

 JEREMY REESE

        and

 WILLIAM MULLEN,

               Plaintiffs,
        v.                                              Civil Case No. 1:20-cv-02621-SAG

 TOTAL ENVIRONMENTAL CONCEPTS
 INC.

        and

 TODD PATTERSON

        and

 MARY ANN FAUDALE,

               Defendants.




  ORDER FOR ENTRY OF JUDGMENT PURSUANT TO RULES 68 AND 54 OF THE
                FEDERAL RULES OF CIVIL PROCEDURE

       Pursuant to Rule 68 of the Federal Rules of Civil Procedure, Defendants Total

Environmental Concepts, Inc., Todd Patterson, and Mary Ann Faudale (“Defendants”) made an

Offer of Judgment (sometimes referred to herein as “Offer”) to Plaintiffs Brian Keith Cockrell,

Jeremy Reese, and William Mullen (“Plaintiffs”), dated March 3, 2021. The Offer was accepted

by Plaintiffs through their Counsel by letter dated March 16, 2021, and both the Offer and the

acceptance of the Offer were filed with the Court on March 22, 2021 (ECF No. 25). Pursuant to a
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request from the Court, Plaintiffs reaffirmed their acceptance by affixing their individual

signatures on the Offer. That document is hereby filed with the Court as of this date.

       Pursuant to Rule 54 of the Federal Rules of Civil Procedure, and pursuant to the terms of

this accepted Offer, the Clerk of the Court will enter Judgment in favor of Plaintiffs in the total

amount of $18,093.64 with the breakdown as follows:

       1.       Brian Keith Cockrell for the sum of Five Thousand Six Hundred Twenty-Five

Dollars and Zero Cents ($5,625.00).

       2.       Jeremy Reese for the sum of Three Thousand One Hundred Ninety-Three Dollars

and Seventy-Six Cents ($3,193.76).

       3.       William Mullen for the sum of One Thousand Three Hundred Seventy-Four Dollars

and Eighty-Eight Cents ($1,374.88).

       4.       E. Patrick McDermott, Esq. for the sum of Seven Thousand Nine Hundred Dollars

and Zero Cents ($7,900.00) for attorneys’ fees/costs.


SO ORDERED:


  Felicia C. Cannon, Clerk of Court
_____________________________________________________


Dated : May 6, 2021




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                                   Respectfully submitted,

                                   /s/ Bernard G. Dennis, III__________
                                   Bernard G. Dennis, III (Bar No. 13909)
                                   Leslie Stout-Tabackman (admitted pro hac vice)
                                   Jason A. Ross (admitted pro hac vice)
                                   JACKSON LEWIS P.C.
                                   107101 Parkridge Blvd., Suite 300
                                   Reston, VA 20191
                                   (703) 483-8378 – Telephone
                                   (703) 483-8301 – Facsimile
                                   Bernard.Dennis@jacksonlewis.com
                                   Leslie.Stout@jacksonlewis.com
                                   Jason.Ross@jacksonlewis.com


                                   Counsel for Defendants

Dated: May 5, 2021




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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that, on this 5th day of May 2021, a true and accurate copy of the

foregoing document was electronically filed with the Clerk’s Office and was served by CM/ECF

upon all counsel on record as follows:


                             E. Patrick McDermott (Bar No. 07262)
                             Law Office of E. Patrick McDermott LLC
                             510 Penguin Drive, Suite 105B
                             Ocean City MD, 21842
                             410-990-0792
                             410-741-3979

                             Counsel for Plaintiff




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